             STATE OF TENNESSEE
DEPARTMENT             SAFETY and HOMELAND SECURITY
    TENNESSEE HIGHWAY PATROL
     Critical Incident Response Team
                    1420 Neal Street Suite 102
                        Cookeville, TN 38501




               CIRT Case Number: 2024-0000417
                                       Trooper Assist Case
                Incident Number:       224011866
                            Date:      02/15/2024
             CIRT Team Number:         2
               CIRT Investigator:      Sergeant John McFarland
               Case Investigator       Sergeant Jerry Millsaps
                          County:      Meigs




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                                 Case File Review and Approval

Case Information
Case Date:       02/15/2024
County:          Meigs
CIRT Case Number:                   2024-0000417
District Incident Number:           224011866

This case file and the documents contained herein represent the findings, and where indicated, the opinions of
the below named member of the Tennessee Highway Patrol. Any findings and opinions are based on the
evidence and information available to the investigator at the time the case was submitted for review but are
limited in scope by the education, training, and experience of the individual at that time. By signing this
document, the investigator certifies that every item of information
               is reflected in this report and that every physical item obtained in connection with this
investigation is contained in this file or is in the location indicated herein.

Investigator: Sergeant John McFarland


Signature:       John McFarland                        Digitally signed by John McFarland
                                                       Date: 2024.06.04 10:48:45 -05'00'




Reviewed By (Rank and Name): Lieutenant Justin Boyd


Signature:       Justin Boyd                           Digitally signed by Justin Boyd
                                                       Date: 2024.06.04 10:55:59 -05'00'




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Occupants
Person Type
 Passenger
First Name
 Tabatha
                                         !   Middle Name
                                              Marie                    I   Last Name
                                                                            Smith                                I   Suffix
                                                                                                                                  I   Date Of Birth
                                                                                                                                       -989
                                                                                                                                                                        Age
                                                                                                                                                                          35
Address Line 1                                       Address Line 2                                       City                                    State                 Zip Code


                                                                                                                          !
                                                                                                                                                                          37322580
                                                                                                              Decatur                                 TN
                                                                                                                                                                          0
Phone Number                                                     G nder                                                       Seating Position
                                                                I ;
 0000000000                                                                                                                    Second Seat-Unknown
Airbag                                                  Safety Equipment
  Not Available                                          None Used MV Occupant
Ejected                                                 Ejection Path                                                     Trapped/Extricated
  Not Ejected                                                                                                              Trapped/Extricated
Injury Code                                             Medical Transport                                                 Ambulance/Hospital
  Fatal                                                   EMS-Ground                                                       Knox Medical Examiner
Incident Responder?                                     Incident Responder Type
  No



Alcohol and Drugs
Officer Suspect Alcohol Use
 Unknown
                                                       Determination Method
                                                        Unknown
                                                                                                                      !   Alcohol Test Status
                                                                                                                           Unknown If Tested
1st Alcohol Test Type              11 st Alcohol Test Result                  2nd Alcohol Test Type                                  2nd Alcohol Test Result
                                                                            1                                                       1

Officer Suspect Drug Use                                Determination Method                                              Drug Test Status
 Yes                                                     Other                                                             Test Not Given
1st Drug Test Type       11 st Drug Test Result         2nd Drug Test Type              2nd Drug Test Result              3rd Drug Test Type                3rd Drug Test Result
                                                                                       1                                                                   1



Violations
1st Violation                                1st Violation Category               1st Violation Description                              1st Violation Statute

2nd Violation                                2nd Violation Category               2nd Violation Description                              2nd Violation Statute

3rd Violation                                3rd Violation Category               3rd Violation Description                              3rd Violation Statute

4th Violation                                4th Violation Category               4th Violation Description                              4th Violation Statute

5th Violation                                5th Violation Category               5th Violation Description                              5th Violation Statute



Commercial Carrier Information
US DOT              Carrier Name                                                       Carrier Type                                          ICC MC               TN DOS
                                                                                                                                         I

Total Axles#       Address Line 1                  Address Line 2                              City                                State         Zip Code         Phone Number
                                                  I                                        I                                      I             I

1st Hazardous Materials       HAZMAT Class           Placard          Placard#         Released       Hazardous Materials Released

2nd Hazardous Materials       HAZMAT Class           Placard          Placard#         Released       Hazardous Materials Released

3rd Hazardous Materials       HAZMAT Class           Placard          Placard#         Released       Hazardous Materials Released




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IMPORTANT NOTICE: Robert Bosch LLC and the manufacturers whose vehicles are accessible using the CDR System urge end users to use the
latest production release of the Crash Data Retrieval system software when viewing, printing or exporting any retrieved data from within the CDR
program. Using the latest version of the CDR software is the best way to ensure that retrieved data has been translated using the most current
information provided by the manufacturers of the vehicles supported by this product.


CDR File Information
 User Entered VIN                                          2FABP7BVXAX145061
 User                                                      Sergeant John McFarland
 Case Number                                               224011866
 EDR Data Imaging Date                                     04/12/2024
 Crash Date                                                02/15/2024
 Filename                                                  2FABP7BVXAX145061_PCM.CDRX
 Saved on                                                  Friday, April 12 2024 at 11:38:21
 Imaged with CDR version                                   Crash Data Retrieval Tool 24.0
 Imaged with Software Licensed to (Company
                                                           Tennessee Highway Patrol
 Name)
 Reported with CDR version                                 Crash Data Retrieval Tool 24.0
 Reported with Software Licensed to (Company
                                                           Tennessee Highway Patrol
 Name)
 EDR Device Type                                           Powertrain Control Module
                                                           No. Analyst evaluation of PCM EDR data is needed. Refer to CSV export of
 Restraint Deployment Signal Received
                                                           PCM EDR data to perform further analysis.


Comments
Direct to ACM image.

Consent given by Sheriff Jackie Melton.

The retrieval of this data has been authorized by the vehicle's owner, or other legal authority such as a court order or search warrant, as indicated
by the CDR tool user on Friday, April 12 2024 at 11:38:21.

Data Limitations
FORD POWERTRAIN CONTROL MODULE EVENT DATA INTERPRETATION GUIDE

1. This document is intended to assist you in reading the data that has been retrieved from a Powertrain Control Module ("PCM") contained in a Ford
vehicle. This document is further intended to provide general guidelines and is not intended to provide information regarding the interpretation of a
specific read-out.

2. The data points in the ³PCM EDR Data´ tables shown in this report are recorded in the PCM approximately every 0.2 seconds. Where a time element
is shown in the report under the heading ³Relative Time (calc.),´ that is a value calculated by the CDR Tool software based on the indication of the
receipt of a "Restraint Deployment Signal" or "RDS" which is a function of communication between the RCM and PCM. While the recordin g time interval
shown is based on the function of the PCM, the ³Relative Time (calc.)´ is not a data element which is retrieved from the PCM.

3. In the event that one of the vehicle's restraint devices (e.g., an airbag or belt pretensioner) have been commanded for deployment by the Restraint
Control Module (RCM), it is designed to indicate that deployment as a function of a Restraints Deployment Signal (RDS). If the PCM " receives" an RDS,
the PCM will lock data internally in the PCM. The RCM and PCM both require power for some period of time after the collision and aft er a deployment in
order for that signal or flag to reach the PCM.

4. If no RDS flag has been received from the RCM and there is still power to the PCM, the PCM data will not lock and the circular buffer will
continuously overwrite itself when the vehicle¶s ignition is in the run position. In this event, data contained in the PCM that was relevant to the collision
may be lost. However, if power was lost as a result of the collis ion, or the ignition key was turned off shortly after the event, t here may still be data
relating to the collision in the PCM.

5. Finding the data closest to impact:

          a.) Where a Restraint Deployment Signal is received by the PCM, th e data is displayed based on the ³Relative Time (calc.)´ parameter
          beginning with the oldest recorded frame of data displayed first in the data table. When an RDS has been received by the PCM, the
          indication will be associated with a frame of data reported as "RDS = Received" which would follow a series of data elements showing
          "RDS=NOT RECEIVED." To calculate relative time, the CDR program ad opts a "time zero" (for the time element shown in in the column
          ³Relative Time (calc.)") associated with the sample where the RDS was received. The CDR Tool software then assigns "negative time"
          relative to that point moving "back in time" to the oldest sample in the loop of data and "positive time" going forward from that as signed time
          zero.

          b.) Where a Restraint Deployment Signal is NOT received at any poi nt in the data set, the data is displayed in order of the ³Buffer Address´
          parameter data beginning with the lowest address value. The PCM buffer is circular and the data point of the first address listed in the PCM
          EDR Data tables does not necessarily signify the beginning of the PCM recording loop. The start and stop time of the PCM recording c ould
          be in the middle of the table. An indication that there has been a n impact will often correlate with a discontinuity of the data lis ted in the table.
          If a single, significant discontinuity in the data is found, the d ata point immediately preceding the discontinuity is likely to be the last data point
          recorded. If there is no single significant discontinuity, the dat a must be examined in detail to determine the largest discontinuit y in the largest
          number of data elements. If no single largest discontinuity can be determined, it may not be possible to determine whether or not th is data is
          associated with an impact.


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          c.) The Restraint Deployment Signal may not be recorded on the PCM immediately at impact. Time lags within the system may result in the
          Restraint Deployment Signal being recorded a few data samples after impact has occurred. The Restraint Deployment Signal is a guide , but
          the analyst must examine all of the data to determine when impact has occurred.

6. The PCM Data Tables further show a column labeled as the ³Key on Timer - 63.75 Max (sec)´ or PUTMR. The PUTMR shows the length of time that
the PCM was functioning for the most recent key cycle. The timer ascends to a maximum value of 63.75 seconds. If the data was not locked by an
RDS flag and the ignition key was turned off and on again, the PCM will begin to write new data starting at the beginning of the data table. While it is
not common, there are instances where the first portion of the dat a table has subsequent-key-on, post-crash data; while the latter portion of the data
table has data from the key cycle in which the crash occurred. In other rare cases, an event has occurred in less than 25 seconds after key on and
older data from prior key cycles has been left in the latter part of the buffer. Review the Key on Timer - 63.75 Max (sec) ( PUTMR) data for
discontinuities to determine if this has occurred.

7. Data displayed in the Key on Timer - 63.75 Max (sec) column has a resolution of 0.25 seconds and rounds actual data to the nearest 0.25 seconds.
The data points occur every 0.2 seconds.

          Actual time          Key on Timer display
          0.0                  0.0
          0.2                  0.25
          0.4                  0.50
          0.6                  0.50
          0.8                  0.75
          1.0                  1.00

8. Recorded Vehicle Speed is proportional to transmission output sh aft speed and accuracy can be affected if the vehicle has had the tire size or
inflation pressure or the final drive axle ratio changed from the factory build specifications.

9. ABS_EVENT=1 occurs when the ABS is active. This can occur with or without the brake pedal being applied. The ABS module may or may not be
taking an action. (For Example, if the brake pedal is not depresse d, the ABS cannot modulate brake pressure if it detects wheel slip page)

PCM Data Source:
? All PCM recorded data is fed directly from sensors to the PCM where raw signals are processed, and stored internally, except for the following
parameters which are transmitted via the vehicle¶s communication network:

          - Stability Control (if equipped)
          - Traction Control (if equipped)
          - ABS
          - Restraint Deployment Signal




02005_PCM-1-2_r002




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PCM Module Information
Vehicle Identification Number (from PCM)   2FABP7BVXAX145061
PCM File Name (calibration level)          FCJC9PZ.HEX*
PCM Part Number                            AW7A-12A650-GA




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                                                                                                    2FABP7BVXAX145061 PCM EDR Crash Data - RDS Not Received
                                                          120
Speed in MPH, Accel pedal %, Brake=99, ABS=97, RPM/100




                                                          100




                                                           80




                                                           60




                                                           40




                                                           20




                                                            0
                                                                1   6    11    16   21   26    31    36    41     46   51    56    61    66    71    76     81     86    91     96     101    106   111     116     121   126

                                                                                                                 PCM EDR samples in order of the buffer address
                                                         Vehicle Speed (MPH)             Accelerator Pedal (%)              Brake Switch (0=Off/99=On)           ABS (0=Inactive/97=Active)               RPM/100




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PCM EDR Data (1)
Buffer     Relative    Restraint       Speed,         Accelerator Engine       Brake        Brake SC     ABS          Transmission -
Address    Time        Deployment      Vehicle        Pedal       Throttle     Switch       De-ac        (Active /    Neutral
(Hex)      (calc.)     Signal          Indicated      % Full (%)  % Full (%)   (On / Off)   (On / Off)   Inactive)    (Neutral / Not
           (Seconds)   (Received /     (MPH [km/h])                                                                   Neutral)
                       Not Received)
EA000010   N/A         Not Received    0 [0]          0            33.5        OFF          OFF          Not Active   Not Neutral
EA000020   N/A         Not Received    0 [0]          0            33.5        OFF          OFF          Not Active   Not Neutral
EA000030   N/A         Not Received    0 [0]          0            33.5        OFF          OFF          Not Active   Not Neutral
EA000040   N/A         Not Received    0 [0]          0            32          OFF          OFF          Not Active   Not Neutral
EA000050   N/A         Not Received    0 [0]          0            33          OFF          OFF          Not Active   Not Neutral
EA000060   N/A         Not Received    0 [0]          0            32.5        OFF          OFF          Not Active   Not Neutral
EA000070   N/A         Not Received    0 [0]          0            33          OFF          OFF          Not Active   Not Neutral
EA000080   N/A         Not Received    0 [0]          0            33.5        OFF          OFF          Not Active   Not Neutral
EA000090   N/A         Not Received    0 [0]          0            32.5        OFF          OFF          Not Active   Not Neutral
EA0000A0   N/A         Not Received    0 [0]          0            33          OFF          OFF          Not Active   Not Neutral
EA0000B0   N/A         Not Received    0 [0]          0            33          OFF          OFF          Not Active   Not Neutral
EA0000C0   N/A         Not Received    0 [0]          0            33.5        OFF          OFF          Not Active   Not Neutral
EA0000D0   N/A         Not Received    0 [0]          0            34          OFF          OFF          Not Active   Not Neutral
EA0000E0   N/A         Not Received    0 [0]          0            33          OFF          OFF          Not Active   Not Neutral
EA0000F0   N/A         Not Received    0 [0]          0            33.5        OFF          OFF          Not Active   Not Neutral
EA000100   N/A         Not Received    0 [0]          0            33.5        OFF          OFF          Not Active   Not Neutral
EA000110   N/A         Not Received    0 [0]          0            33.5        OFF          OFF          Not Active   Not Neutral
EA000120   N/A         Not Received    0 [0]          0            33.5        OFF          OFF          Not Active   Not Neutral
EA000130   N/A         Not Received    0 [0]          0            32.5        OFF          OFF          Not Active   Not Neutral
EA000140   N/A         Not Received    0 [0]          0            33          OFF          OFF          Not Active   Not Neutral
EA000150   N/A         Not Received    0 [0]          0            32.5        OFF          OFF          Not Active   Not Neutral
EA000160   N/A         Not Received    0 [0]          0            33.5        OFF          OFF          Not Active   Not Neutral
EA000170   N/A         Not Received    0 [0]          0            33          OFF          OFF          Not Active   Not Neutral
EA000180   N/A         Not Received    0 [0]          0            33          OFF          OFF          Not Active   Not Neutral
EA000190   N/A         Not Received    0 [0]          0            33          OFF          OFF          Not Active   Not Neutral
EA0001A0   N/A         Not Received    0 [0]          0            33          OFF          OFF          Not Active   Not Neutral
EA0001B0   N/A         Not Received    0 [0]          0            33.5        OFF          OFF          Not Active   Not Neutral
EA0001C0   N/A         Not Received    0 [0]          0            33          OFF          OFF          Not Active   Not Neutral
EA0001D0   N/A         Not Received    0 [0]          0            33.5        OFF          OFF          Not Active   Not Neutral
EA0001E0   N/A         Not Received    0 [0]          0            33.5        OFF          OFF          Not Active   Not Neutral
EA0001F0   N/A         Not Received    0 [0]          0            33.5        OFF          OFF          Not Active   Not Neutral
EA000200   N/A         Not Received    0 [0]          0            33          OFF          OFF          Not Active   Not Neutral
EA000210   N/A         Not Received    0 [0]          0            34          OFF          OFF          Not Active   Not Neutral
EA000220   N/A         Not Received    0 [0]          0            32.5        OFF          OFF          Not Active   Not Neutral
EA000230   N/A         Not Received    0 [0]          0            33          OFF          OFF          Not Active   Not Neutral
EA000240   N/A         Not Received    0 [0]          0            33          OFF          OFF          Not Active   Not Neutral
EA000250   N/A         Not Received    0 [0]          0            33.5        OFF          OFF          Not Active   Not Neutral
EA000260   N/A         Not Received    0 [0]          0            33          OFF          OFF          Not Active   Not Neutral
EA000270   N/A         Not Received    0 [0]          0            32.5        OFF          OFF          Not Active   Not Neutral
EA000280   N/A         Not Received    0 [0]          0            33          OFF          OFF          Not Active   Not Neutral
EA000290   N/A         Not Received    0 [0]          0            32.5        OFF          OFF          Not Active   Not Neutral
EA0002A0   N/A         Not Received    0 [0]          0            33          OFF          OFF          Not Active   Not Neutral
EA0002B0   N/A         Not Received    0 [0]          0            34          OFF          OFF          Not Active   Not Neutral
EA0002C0   N/A         Not Received    0 [0]          0            34.5        OFF          OFF          Not Active   Not Neutral
EA0002D0   N/A         Not Received    0 [0]          0            33.5        OFF          OFF          Not Active   Not Neutral
EA0002E0   N/A         Not Received    0 [0]          0            33.5        OFF          OFF          Not Active   Not Neutral
EA0002F0   N/A         Not Received    0 [0]          0            34          OFF          OFF          Not Active   Not Neutral
EA000300   N/A         Not Received    0 [0]          0            33.5        OFF          OFF          Not Active   Not Neutral
EA000310   N/A         Not Received    0 [0]          0            33.5        OFF          OFF          Not Active   Not Neutral
EA000320   N/A         Not Received    0 [0]          0            34.5        OFF          OFF          Not Active   Not Neutral
EA000330   N/A         Not Received    0 [0]          0            34          OFF          OFF          Not Active   Not Neutral
EA000340   N/A         Not Received    0 [0]          0            34.5        OFF          OFF          Not Active   Not Neutral
EA000350   N/A         Not Received    0 [0]          0            35          OFF          OFF          Not Active   Not Neutral
EA000360   N/A         Not Received    0 [0]          0            36          OFF          OFF          Not Active   Not Neutral
EA000370   N/A         Not Received    0 [0]          0            35          OFF          OFF          Not Active   Not Neutral
EA000380   N/A         Not Received    0 [0]          0            36          OFF          OFF          Not Active   Not Neutral
EA000390   N/A         Not Received    0 [0]          0            34.5        OFF          OFF          Not Active   Not Neutral
EA0003A0   N/A         Not Received    0 [0]          0            34          OFF          OFF          Not Active   Not Neutral
EA0003B0   N/A         Not Received    0 [0]          0            34          OFF          OFF          Not Active   Not Neutral
EA0003C0   N/A         Not Received    0 [0]          0            34          OFF          OFF          Not Active   Not Neutral
EA0003D0   N/A         Not Received    0 [0]          0            34.5        OFF          OFF          Not Active   Not Neutral
EA0003E0   N/A         Not Received    0 [0]          0            34.5        OFF          OFF          Not Active   Not Neutral
EA0003F0   N/A         Not Received    0 [0]          0            35          OFF          OFF          Not Active   Not Neutral
EA000400   N/A         Not Received    0 [0]          0            35.5        OFF          OFF          Not Active   Not Neutral
EA000410   N/A         Not Received    0 [0]          0            35          OFF          OFF          Not Active   Not Neutral
EA000420   N/A         Not Received    0 [0]          0            35.5        OFF          OFF          Not Active   Not Neutral

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Buffer     Relative    Restraint       Speed,         Accelerator Engine       Brake        Brake SC     ABS          Transmission -
Address    Time        Deployment      Vehicle        Pedal       Throttle     Switch       De-ac        (Active /    Neutral
(Hex)      (calc.)     Signal          Indicated      % Full (%)  % Full (%)   (On / Off)   (On / Off)   Inactive)    (Neutral / Not
           (Seconds)   (Received /     (MPH [km/h])                                                                   Neutral)
                       Not Received)
EA000430   N/A         Not Received    0 [0]          0            35.5        OFF          OFF          Not Active   Not Neutral
EA000440   N/A         Not Received    0 [0]          0            35.5        OFF          OFF          Not Active   Not Neutral
EA000450   N/A         Not Received    0 [0]          0            35          OFF          OFF          Not Active   Not Neutral
EA000460   N/A         Not Received    0 [0]          0            35.5        OFF          OFF          Not Active   Not Neutral
EA000470   N/A         Not Received    0 [0]          0            36          OFF          OFF          Not Active   Not Neutral
EA000480   N/A         Not Received    0 [0]          0            35.5        OFF          OFF          Not Active   Not Neutral
EA000490   N/A         Not Received    0 [0]          0            36.5        OFF          OFF          Not Active   Not Neutral
EA0004A0   N/A         Not Received    0 [0]          0            35.5        OFF          OFF          Not Active   Not Neutral
EA0004B0   N/A         Not Received    0 [0]          0            35          OFF          OFF          Not Active   Not Neutral
EA0004C0   N/A         Not Received    0 [0]          0            35.5        OFF          OFF          Not Active   Not Neutral
EA0004D0   N/A         Not Received    0 [0]          0            36          OFF          OFF          Not Active   Not Neutral
EA0004E0   N/A         Not Received    0 [0]          0            35.5        OFF          OFF          Not Active   Not Neutral
EA0004F0   N/A         Not Received    0 [0]          0            35.5        OFF          OFF          Not Active   Not Neutral
EA000500   N/A         Not Received    0 [0]          0            35          OFF          OFF          Not Active   Not Neutral
EA000510   N/A         Not Received    0 [0]          0            35          OFF          OFF          Not Active   Not Neutral
EA000520   N/A         Not Received    0 [0]          0            35          OFF          OFF          Not Active   Not Neutral
EA000530   N/A         Not Received    0 [0]          0            35          OFF          OFF          Not Active   Not Neutral
EA000540   N/A         Not Received    0 [0]          0            35          OFF          OFF          Not Active   Not Neutral
EA000550   N/A         Not Received    0 [0]          0            34.5        OFF          OFF          Not Active   Not Neutral
EA000560   N/A         Not Received    0 [0]          0            35.5        OFF          OFF          Not Active   Not Neutral
EA000570   N/A         Not Received    0 [0]          0            35          OFF          OFF          Not Active   Not Neutral
EA000580   N/A         Not Received    0 [0]          0            35.5        OFF          OFF          Not Active   Not Neutral
EA000590   N/A         Not Received    0 [0]          0            35.5        OFF          OFF          Not Active   Not Neutral
EA0005A0   N/A         Not Received    0 [0]          0            35.5        OFF          OFF          Not Active   Not Neutral
EA0005B0   N/A         Not Received    0 [0]          0            36.5        OFF          OFF          Not Active   Not Neutral
EA0005C0   N/A         Not Received    0 [0]          0            35          OFF          OFF          Not Active   Not Neutral
EA0005D0   N/A         Not Received    0 [0]          0            35.5        OFF          OFF          Not Active   Not Neutral
EA0005E0   N/A         Not Received    0 [0]          0            35          OFF          OFF          Not Active   Not Neutral
EA0005F0   N/A         Not Received    0 [0]          0            35          OFF          OFF          Not Active   Not Neutral
EA000600   N/A         Not Received    0 [0]          0            35.5        OFF          OFF          Not Active   Not Neutral
EA000610   N/A         Not Received    0 [0]          0            35          OFF          OFF          Not Active   Not Neutral
EA000620   N/A         Not Received    0 [0]          0            35.5        OFF          OFF          Not Active   Not Neutral
EA000630   N/A         Not Received    0 [0]          0            34.5        OFF          OFF          Not Active   Not Neutral
EA000640   N/A         Not Received    0 [0]          0            35          OFF          OFF          Not Active   Not Neutral
EA000650   N/A         Not Received    0 [0]          0            35          OFF          OFF          Not Active   Not Neutral
EA000660   N/A         Not Received    0 [0]          0            35.5        OFF          OFF          Not Active   Not Neutral
EA000670   N/A         Not Received    0 [0]          0            35          OFF          OFF          Not Active   Not Neutral
EA000680   N/A         Not Received    0 [0]          0            35.5        OFF          OFF          Not Active   Not Neutral
EA000690   N/A         Not Received    0 [0]          0            35          OFF          OFF          Not Active   Not Neutral
EA0006A0   N/A         Not Received    0 [0]          0            35.5        OFF          OFF          Not Active   Not Neutral
EA0006B0   N/A         Not Received    0 [0]          0            35          OFF          OFF          Not Active   Not Neutral
EA0006C0   N/A         Not Received    0 [0]          0            35          OFF          OFF          Not Active   Not Neutral
EA0006D0   N/A         Not Received    0 [0]          0            35          OFF          OFF          Not Active   Not Neutral
EA0006E0   N/A         Not Received    0 [0]          0            36          OFF          OFF          Not Active   Not Neutral
EA0006F0   N/A         Not Received    0 [0]          0            35.5        OFF          OFF          Not Active   Not Neutral
EA000700   N/A         Not Received    0 [0]          0            36          OFF          OFF          Not Active   Not Neutral
EA000710   N/A         Not Received    0 [0]          0            36          OFF          OFF          Not Active   Not Neutral
EA000720   N/A         Not Received    0 [0]          0            32.5        OFF          OFF          Not Active   Not Neutral
EA000730   N/A         Not Received    0 [0]          0            32          OFF          OFF          Not Active   Not Neutral
EA000740   N/A         Not Received    0 [0]          0            32.5        OFF          OFF          Not Active   Not Neutral
EA000750   N/A         Not Received    0 [0]          0            31.5        OFF          OFF          Not Active   Not Neutral
EA000760   N/A         Not Received    0 [0]          0            32          OFF          OFF          Not Active   Not Neutral
EA000770   N/A         Not Received    0 [0]          0            32.5        OFF          OFF          Not Active   Not Neutral
EA000780   N/A         Not Received    0 [0]          0            32          OFF          OFF          Not Active   Not Neutral
EA000790   N/A         Not Received    0 [0]          0            32.5        OFF          OFF          Not Active   Not Neutral
EA0007A0   N/A         Not Received    0 [0]          0            33          OFF          OFF          Not Active   Not Neutral
EA0007B0   N/A         Not Received    0 [0]          0            32.5        OFF          OFF          Not Active   Not Neutral
EA0007C0   N/A         Not Received    0 [0]          0            33.5        OFF          OFF          Not Active   Not Neutral
EA0007D0   N/A         Not Received    0 [0]          0            33          OFF          OFF          Not Active   Not Neutral
EA0007E0   N/A         Not Received    0 [0]          0            32          OFF          OFF          Not Active   Not Neutral
EA0007F0   N/A         Not Received    0 [0]          0            33.5        OFF          OFF          Not Active   Not Neutral




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PCM EDR Data (2)
Buffer     Relative    Transmission   Speed           Engine    Engine       Driveline    Traction     Stability    Key On Timer
Address    Time         - Reverse     Control (On /   RPM (RPM) Output       Output       Control      Control      63.75 Max
(Hex)      (calc.)     (Reverse /     Off)                      Torque       Torque       (Active /    (Active /    (sec)
           (Seconds)   Not Reverse)                             Calculated   Calculated   Inactive)    Inactive)    (Seconds)
                                                                (N-m)        (N-m)
EA000010   N/A         Not Reverse    OFF             0          232         1540         Not Active   Not Active   63.75
EA000020   N/A         Not Reverse    OFF             0          232         1540         Not Active   Not Active   63.75
EA000030   N/A         Not Reverse    OFF             0          232         1540         Not Active   Not Active   63.75
EA000040   N/A         Not Reverse    OFF             0          232         1540         Not Active   Not Active   63.75
EA000050   N/A         Not Reverse    OFF             0          232         1540         Not Active   Not Active   63.75
EA000060   N/A         Not Reverse    OFF             0          232         1540         Not Active   Not Active   63.75
EA000070   N/A         Not Reverse    OFF             0          232         1540         Not Active   Not Active   63.75
EA000080   N/A         Not Reverse    OFF             0          232         1540         Not Active   Not Active   63.75
EA000090   N/A         Not Reverse    OFF             0          232         1540         Not Active   Not Active   63.75
EA0000A0   N/A         Not Reverse    OFF             0          232         1540         Not Active   Not Active   63.75
EA0000B0   N/A         Not Reverse    OFF             0          232         1541         Not Active   Not Active   63.75
EA0000C0   N/A         Not Reverse    OFF             0          232         1541         Not Active   Not Active   63.75
EA0000D0   N/A         Not Reverse    OFF             0          232         1541         Not Active   Not Active   63.75
EA0000E0   N/A         Not Reverse    OFF             0          232         1541         Not Active   Not Active   63.75
EA0000F0   N/A         Not Reverse    OFF             0          232         1541         Not Active   Not Active   63.75
EA000100   N/A         Not Reverse    OFF             0          232         1541         Not Active   Not Active   63.75
EA000110   N/A         Not Reverse    OFF             0          232         1541         Not Active   Not Active   63.75
EA000120   N/A         Not Reverse    OFF             0          232         1541         Not Active   Not Active   63.75
EA000130   N/A         Not Reverse    OFF             0          232         1541         Not Active   Not Active   63.75
EA000140   N/A         Not Reverse    OFF             0          232         1541         Not Active   Not Active   63.75
EA000150   N/A         Not Reverse    OFF             0          232         1541         Not Active   Not Active   63.75
EA000160   N/A         Not Reverse    OFF             0          232         1541         Not Active   Not Active   63.75
EA000170   N/A         Not Reverse    OFF             0          232         1541         Not Active   Not Active   63.75
EA000180   N/A         Not Reverse    OFF             0          232         1541         Not Active   Not Active   63.75
EA000190   N/A         Not Reverse    OFF             0          232         1541         Not Active   Not Active   63.75
EA0001A0   N/A         Not Reverse    OFF             0          232         1541         Not Active   Not Active   63.75
EA0001B0   N/A         Not Reverse    OFF             0          232         1541         Not Active   Not Active   63.75
EA0001C0   N/A         Not Reverse    OFF             0          232         1541         Not Active   Not Active   63.75
EA0001D0   N/A         Not Reverse    OFF             0          232         1541         Not Active   Not Active   63.75
EA0001E0   N/A         Not Reverse    OFF             0          232         1541         Not Active   Not Active   63.75
EA0001F0   N/A         Not Reverse    OFF             0          232         1541         Not Active   Not Active   63.75
EA000200   N/A         Not Reverse    OFF             0          232         1541         Not Active   Not Active   63.75
EA000210   N/A         Not Reverse    OFF             0          232         1541         Not Active   Not Active   63.75
EA000220   N/A         Not Reverse    OFF             0          232         1541         Not Active   Not Active   63.75
EA000230   N/A         Not Reverse    OFF             0          232         1541         Not Active   Not Active   63.75
EA000240   N/A         Not Reverse    OFF             0          232         1541         Not Active   Not Active   63.75
EA000250   N/A         Not Reverse    OFF             0          232         1541         Not Active   Not Active   63.75
EA000260   N/A         Not Reverse    OFF             0          232         1541         Not Active   Not Active   63.75
EA000270   N/A         Not Reverse    OFF             0          232         1541         Not Active   Not Active   63.75
EA000280   N/A         Not Reverse    OFF             0          232         1542         Not Active   Not Active   63.75
EA000290   N/A         Not Reverse    OFF             0          232         1542         Not Active   Not Active   63.75
EA0002A0   N/A         Not Reverse    OFF             0          232         1542         Not Active   Not Active   63.75
EA0002B0   N/A         Not Reverse    OFF             0          232         1542         Not Active   Not Active   63.75
EA0002C0   N/A         Not Reverse    OFF             0          232         1542         Not Active   Not Active   63.75
EA0002D0   N/A         Not Reverse    OFF             0          232         1542         Not Active   Not Active   63.75
EA0002E0   N/A         Not Reverse    OFF             0          232         1542         Not Active   Not Active   63.75
EA0002F0   N/A         Not Reverse    OFF             0          232         1542         Not Active   Not Active   63.75
EA000300   N/A         Not Reverse    OFF             0          232         1542         Not Active   Not Active   63.75
EA000310   N/A         Not Reverse    OFF             0          232         1542         Not Active   Not Active   63.75
EA000320   N/A         Not Reverse    OFF             0          232         1542         Not Active   Not Active   63.75
EA000330   N/A         Not Reverse    OFF             0          232         1542         Not Active   Not Active   63.75
EA000340   N/A         Not Reverse    OFF             0          232         1542         Not Active   Not Active   63.75
EA000350   N/A         Not Reverse    OFF             0          232         1542         Not Active   Not Active   63.75
EA000360   N/A         Not Reverse    OFF             0          232         1542         Not Active   Not Active   63.75
EA000370   N/A         Not Reverse    OFF             0          232         1542         Not Active   Not Active   63.75
EA000380   N/A         Not Reverse    OFF             0          232         1542         Not Active   Not Active   63.75
EA000390   N/A         Not Reverse    OFF             0          232         1542         Not Active   Not Active   63.75
EA0003A0   N/A         Not Reverse    OFF             0          232         1542         Not Active   Not Active   63.75
EA0003B0   N/A         Not Reverse    OFF             0          232         1542         Not Active   Not Active   63.75
EA0003C0   N/A         Not Reverse    OFF             0          232         1542         Not Active   Not Active   63.75
EA0003D0   N/A         Not Reverse    OFF             0          232         1542         Not Active   Not Active   63.75
EA0003E0   N/A         Not Reverse    OFF             0          232         1542         Not Active   Not Active   63.75
EA0003F0   N/A         Not Reverse    OFF             0          232         1542         Not Active   Not Active   63.75
EA000400   N/A         Not Reverse    OFF             0          232         1542         Not Active   Not Active   63.75
EA000410   N/A         Not Reverse    OFF             0          232         1542         Not Active   Not Active   63.75
EA000420   N/A         Not Reverse    OFF             0          232         1543         Not Active   Not Active   63.75

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Buffer     Relative    Transmission   Speed           Engine    Engine       Driveline    Traction     Stability    Key On Timer
Address    Time         - Reverse     Control (On /   RPM (RPM) Output       Output       Control      Control      63.75 Max
(Hex)      (calc.)     (Reverse /     Off)                      Torque       Torque       (Active /    (Active /    (sec)
           (Seconds)   Not Reverse)                             Calculated   Calculated   Inactive)    Inactive)    (Seconds)
                                                                (N-m)        (N-m)
EA000430   N/A         Not Reverse    OFF             0          232         1543         Not Active   Not Active   63.75
EA000440   N/A         Not Reverse    OFF             0          232         1543         Not Active   Not Active   63.75
EA000450   N/A         Not Reverse    OFF             0          232         1543         Not Active   Not Active   63.75
EA000460   N/A         Not Reverse    OFF             0          232         1543         Not Active   Not Active   63.75
EA000470   N/A         Not Reverse    OFF             0          232         1543         Not Active   Not Active   63.75
EA000480   N/A         Not Reverse    OFF             0          232         1543         Not Active   Not Active   63.75
EA000490   N/A         Not Reverse    OFF             0          232         1543         Not Active   Not Active   63.75
EA0004A0   N/A         Not Reverse    OFF             0          233         1543         Not Active   Not Active   63.75
EA0004B0   N/A         Not Reverse    OFF             0          233         1543         Not Active   Not Active   63.75
EA0004C0   N/A         Not Reverse    OFF             0          233         1543         Not Active   Not Active   63.75
EA0004D0   N/A         Not Reverse    OFF             0          233         1543         Not Active   Not Active   63.75
EA0004E0   N/A         Not Reverse    OFF             0          233         1543         Not Active   Not Active   63.75
EA0004F0   N/A         Not Reverse    OFF             0          233         1543         Not Active   Not Active   63.75
EA000500   N/A         Not Reverse    OFF             0          233         1543         Not Active   Not Active   63.75
EA000510   N/A         Not Reverse    OFF             0          233         1543         Not Active   Not Active   63.75
EA000520   N/A         Not Reverse    OFF             0          233         1543         Not Active   Not Active   63.75
EA000530   N/A         Not Reverse    OFF             0          233         1543         Not Active   Not Active   63.75
EA000540   N/A         Not Reverse    OFF             0          233         1543         Not Active   Not Active   63.75
EA000550   N/A         Not Reverse    OFF             0          233         1543         Not Active   Not Active   63.75
EA000560   N/A         Not Reverse    OFF             0          233         1543         Not Active   Not Active   63.75
EA000570   N/A         Not Reverse    OFF             0          233         1543         Not Active   Not Active   63.75
EA000580   N/A         Not Reverse    OFF             0          233         1543         Not Active   Not Active   63.75
EA000590   N/A         Not Reverse    OFF             0          233         1543         Not Active   Not Active   63.75
EA0005A0   N/A         Not Reverse    OFF             0          233         1543         Not Active   Not Active   63.75
EA0005B0   N/A         Not Reverse    OFF             0          233         1543         Not Active   Not Active   63.75
EA0005C0   N/A         Not Reverse    OFF             0          233         1543         Not Active   Not Active   63.75
EA0005D0   N/A         Not Reverse    OFF             0          233         1543         Not Active   Not Active   63.75
EA0005E0   N/A         Not Reverse    OFF             0          233         1544         Not Active   Not Active   63.75
EA0005F0   N/A         Not Reverse    OFF             0          233         1544         Not Active   Not Active   63.75
EA000600   N/A         Not Reverse    OFF             0          233         1544         Not Active   Not Active   63.75
EA000610   N/A         Not Reverse    OFF             0          233         1544         Not Active   Not Active   63.75
EA000620   N/A         Not Reverse    OFF             0          233         1544         Not Active   Not Active   63.75
EA000630   N/A         Not Reverse    OFF             0          233         1544         Not Active   Not Active   63.75
EA000640   N/A         Not Reverse    OFF             0          233         1544         Not Active   Not Active   63.75
EA000650   N/A         Not Reverse    OFF             0          233         1544         Not Active   Not Active   63.75
EA000660   N/A         Not Reverse    OFF             0          233         1544         Not Active   Not Active   63.75
EA000670   N/A         Not Reverse    OFF             0          233         1544         Not Active   Not Active   63.75
EA000680   N/A         Not Reverse    OFF             0          233         1544         Not Active   Not Active   63.75
EA000690   N/A         Not Reverse    OFF             0          233         1544         Not Active   Not Active   63.75
EA0006A0   N/A         Not Reverse    OFF             0          233         1544         Not Active   Not Active   63.75
EA0006B0   N/A         Not Reverse    OFF             0          233         1544         Not Active   Not Active   63.75
EA0006C0   N/A         Not Reverse    OFF             0          233         1544         Not Active   Not Active   63.75
EA0006D0   N/A         Not Reverse    OFF             0          233         1544         Not Active   Not Active   63.75
EA0006E0   N/A         Not Reverse    OFF             0          233         1544         Not Active   Not Active   63.75
EA0006F0   N/A         Not Reverse    OFF             0          233         1544         Not Active   Not Active   63.75
EA000700   N/A         Not Reverse    OFF             0          233         1544         Not Active   Not Active   63.75
EA000710   N/A         Not Reverse    OFF             0          233         1544         Not Active   Not Active   63.75
EA000720   N/A         Not Reverse    OFF             0          232         1540         Not Active   Not Active   63.75
EA000730   N/A         Not Reverse    OFF             0          232         1540         Not Active   Not Active   63.75
EA000740   N/A         Not Reverse    OFF             0          232         1540         Not Active   Not Active   63.75
EA000750   N/A         Not Reverse    OFF             0          232         1540         Not Active   Not Active   63.75
EA000760   N/A         Not Reverse    OFF             0          232         1540         Not Active   Not Active   63.75
EA000770   N/A         Not Reverse    OFF             0          232         1540         Not Active   Not Active   63.75
EA000780   N/A         Not Reverse    OFF             0          232         1540         Not Active   Not Active   63.75
EA000790   N/A         Not Reverse    OFF             0          232         1540         Not Active   Not Active   63.75
EA0007A0   N/A         Not Reverse    OFF             0          232         1540         Not Active   Not Active   63.75
EA0007B0   N/A         Not Reverse    OFF             0          232         1540         Not Active   Not Active   63.75
EA0007C0   N/A         Not Reverse    OFF             0          232         1540         Not Active   Not Active   63.75
EA0007D0   N/A         Not Reverse    OFF             0          232         1540         Not Active   Not Active   63.75
EA0007E0   N/A         Not Reverse    OFF             0          232         1540         Not Active   Not Active   63.75
EA0007F0   N/A         Not Reverse    OFF             0          232         1540         Not Active   Not Active   63.75




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Hexadecimal Data
Data that the vehicle manufacturer has specified for data retrieval is shown in the hexadecimal data section of the CDR
report. The hexadecimal data section of the CDR report may contain data that is not translated by the CDR program. The
control module contains additional data that is not retrievable by the CDR system.


 0000100C0:    32 46 41 42 50 37 42 56 58 41 58 31 34 35 30 36
 0000100D0:    31 FF FF FF

 000010046:    46 43 4A 43 39 50 5A 2E 48 45 58 2A

 000010054:    41 57 37 41 47 41 20 2A

 0EA000000:    FF 00 00 01 00 00 00 00 00 00 00 00 00 00 00 00
 0EA000010:    00 04 43 00 00 02 E8 00 00 08 04 00 F8 FF 00 CC
 0EA000020:    00 04 43 00 00 02 E8 00 00 08 04 00 F8 FF 00 CC
 0EA000030:    00 04 43 00 00 02 E8 00 00 08 04 00 F8 FF 00 CC
 0EA000040:    00 04 40 00 00 02 E8 00 00 08 04 00 F8 FF 00 CF
 0EA000050:    00 04 42 00 00 02 E8 00 00 08 04 00 F8 FF 00 CD
 0EA000060:    00 04 41 00 00 02 E8 00 00 08 04 00 F8 FF 00 CE
 0EA000070:    00 04 42 00 00 02 E8 00 00 08 04 00 F8 FF 00 CD
 0EA000080:    00 04 43 00 00 02 E8 00 00 08 04 00 F8 FF 00 CC
 0EA000090:    00 04 41 00 00 02 E8 00 00 08 04 00 F8 FF 00 CE
 0EA0000A0:    00 04 42 00 00 02 E8 00 00 08 04 00 F8 FF 00 CD
 0EA0000B0:    00 04 42 00 00 02 E8 00 00 08 05 00 F8 FF 00 CC
 0EA0000C0:    00 04 43 00 00 02 E8 00 00 08 05 00 F8 FF 00 CB
 0EA0000D0:    00 04 44 00 00 02 E8 00 00 08 05 00 F8 FF 00 CA
 0EA0000E0:    00 04 42 00 00 02 E8 00 00 08 05 00 F8 FF 00 CC
 0EA0000F0:    00 04 43 00 00 02 E8 00 00 08 05 00 F8 FF 00 CB
 0EA000100:    00 04 43 00 00 02 E8 00 00 08 05 00 F8 FF 00 CB
 0EA000110:    00 04 43 00 00 02 E8 00 00 08 05 00 F8 FF 00 CB
 0EA000120:    00 04 43 00 00 02 E8 00 00 08 05 00 F8 FF 00 CB
 0EA000130:    00 04 41 00 00 02 E8 00 00 08 05 00 F8 FF 00 CD
 0EA000140:    00 04 42 00 00 02 E8 00 00 08 05 00 F8 FF 00 CC
 0EA000150:    00 04 41 00 00 02 E8 00 00 08 05 00 F8 FF 00 CD
 0EA000160:    00 04 43 00 00 02 E8 00 00 08 05 00 F8 FF 00 CB
 0EA000170:    00 04 42 00 00 02 E8 00 00 08 05 00 F8 FF 00 CC
 0EA000180:    00 04 42 00 00 02 E8 00 00 08 05 00 F8 FF 00 CC
 0EA000190:    00 04 42 00 00 02 E8 00 00 08 05 00 F8 FF 00 CC
 0EA0001A0:    00 04 42 00 00 02 E8 00 00 08 05 00 F8 FF 00 CC
 0EA0001B0:    00 04 43 00 00 02 E8 00 00 08 05 00 F8 FF 00 CB
 0EA0001C0:    00 04 42 00 00 02 E8 00 00 08 05 00 F8 FF 00 CC
 0EA0001D0:    00 04 43 00 00 02 E8 00 00 08 05 00 F8 FF 00 CB
 0EA0001E0:    00 04 43 00 00 02 E8 00 00 08 05 00 F8 FF 00 CB
 0EA0001F0:    00 04 43 00 00 02 E8 00 00 08 05 00 F8 FF 00 CB
 0EA000200:    00 04 42 00 00 02 E8 00 00 08 05 00 F8 FF 00 CC
 0EA000210:    00 04 44 00 00 02 E8 00 00 08 05 00 F8 FF 00 CA
 0EA000220:    00 04 41 00 00 02 E8 00 00 08 05 00 F8 FF 00 CD
 0EA000230:    00 04 42 00 00 02 E8 00 00 08 05 00 F8 FF 00 CC
 0EA000240:    00 04 42 00 00 02 E8 00 00 08 05 00 F8 FF 00 CC
 0EA000250:    00 04 43 00 00 02 E8 00 00 08 05 00 F8 FF 00 CB
 0EA000260:    00 04 42 00 00 02 E8 00 00 08 05 00 F8 FF 00 CC
 0EA000270:    00 04 41 00 00 02 E8 00 00 08 05 00 F8 FF 00 CD
 0EA000280:    00 04 42 00 00 02 E8 00 00 08 06 00 F8 FF 00 CB
 0EA000290:    00 04 41 00 00 02 E8 00 00 08 06 00 F8 FF 00 CC
 0EA0002A0:    00 04 42 00 00 02 E8 00 00 08 06 00 F8 FF 00 CB
 0EA0002B0:    00 04 44 00 00 02 E8 00 00 08 06 00 F8 FF 00 C9
 0EA0002C0:    00 04 45 00 00 02 E8 00 00 08 06 00 F8 FF 00 C8
 0EA0002D0:    00 04 43 00 00 02 E8 00 00 08 06 00 F8 FF 00 CA
 0EA0002E0:    00 04 43 00 00 02 E8 00 00 08 06 00 F8 FF 00 CA
 0EA0002F0:    00 04 44 00 00 02 E8 00 00 08 06 00 F8 FF 00 C9
 0EA000300:    00 04 43 00 00 02 E8 00 00 08 06 00 F8 FF 00 CA
 0EA000310:    00 04 43 00 00 02 E8 00 00 08 06 00 F8 FF 00 CA
 0EA000320:    00 04 45 00 00 02 E8 00 00 08 06 00 F8 FF 00 C8
 0EA000330:    00 04 44 00 00 02 E8 00 00 08 06 00 F8 FF 00 C9
 0EA000340:    00 04 45 00 00 02 E8 00 00 08 06 00 F8 FF 00 C8
 0EA000350:    00 04 46 00 00 02 E8 00 00 08 06 00 F8 FF 00 C7
 0EA000360:    00 04 48 00 00 02 E8 00 00 08 06 00 F8 FF 00 C5
 0EA000370:    00 04 46 00 00 02 E8 00 00 08 06 00 F8 FF 00 C7
 0EA000380:    00 04 48 00 00 02 E8 00 00 08 06 00 F8 FF 00 C5
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0EA000390:   00 04 45 00 00 02 E8 00 00 08 06 00 F8 FF 00 C8
0EA0003A0:   00 04 44 00 00 02 E8 00 00 08 06 00 F8 FF 00 C9
0EA0003B0:   00 04 44 00 00 02 E8 00 00 08 06 00 F8 FF 00 C9
0EA0003C0:   00 04 44 00 00 02 E8 00 00 08 06 00 F8 FF 00 C9
0EA0003D0:   00 04 45 00 00 02 E8 00 00 08 06 00 F8 FF 00 C8
0EA0003E0:   00 04 45 00 00 02 E8 00 00 08 06 00 F8 FF 00 C8
0EA0003F0:   00 04 46 00 00 02 E8 00 00 08 06 00 F8 FF 00 C7
0EA000400:   00 04 47 00 00 02 E8 00 00 08 06 00 F8 FF 00 C6
0EA000410:   00 04 46 00 00 02 E8 00 00 08 06 00 F8 FF 00 C7
0EA000420:   00 04 47 00 00 02 E8 00 00 08 07 00 F8 FF 00 C5
0EA000430:   00 04 47 00 00 02 E8 00 00 08 07 00 F8 FF 00 C5
0EA000440:   00 04 47 00 00 02 E8 00 00 08 07 00 F8 FF 00 C5
0EA000450:   00 04 46 00 00 02 E8 00 00 08 07 00 F8 FF 00 C6
0EA000460:   00 04 47 00 00 02 E8 00 00 08 07 00 F8 FF 00 C5
0EA000470:   00 04 48 00 00 02 E8 00 00 08 07 00 F8 FF 00 C4
0EA000480:   00 04 47 00 00 02 E8 00 00 08 07 00 F8 FF 00 C5
0EA000490:   00 04 49 00 00 02 E8 00 00 08 07 00 F8 FF 00 C3
0EA0004A0:   00 04 47 00 00 02 E9 00 00 08 07 00 F8 FF 00 C4
0EA0004B0:   00 04 46 00 00 02 E9 00 00 08 07 00 F8 FF 00 C5
0EA0004C0:   00 04 47 00 00 02 E9 00 00 08 07 00 F8 FF 00 C4
0EA0004D0:   00 04 48 00 00 02 E9 00 00 08 07 00 F8 FF 00 C3
0EA0004E0:   00 04 47 00 00 02 E9 00 00 08 07 00 F8 FF 00 C4
0EA0004F0:   00 04 47 00 00 02 E9 00 00 08 07 00 F8 FF 00 C4
0EA000500:   00 04 46 00 00 02 E9 00 00 08 07 00 F8 FF 00 C5
0EA000510:   00 04 46 00 00 02 E9 00 00 08 07 00 F8 FF 00 C5
0EA000520:   00 04 46 00 00 02 E9 00 00 08 07 00 F8 FF 00 C5
0EA000530:   00 04 46 00 00 02 E9 00 00 08 07 00 F8 FF 00 C5
0EA000540:   00 04 46 00 00 02 E9 00 00 08 07 00 F8 FF 00 C5
0EA000550:   00 04 45 00 00 02 E9 00 00 08 07 00 F8 FF 00 C6
0EA000560:   00 04 47 00 00 02 E9 00 00 08 07 00 F8 FF 00 C4
0EA000570:   00 04 46 00 00 02 E9 00 00 08 07 00 F8 FF 00 C5
0EA000580:   00 04 47 00 00 02 E9 00 00 08 07 00 F8 FF 00 C4
0EA000590:   00 04 47 00 00 02 E9 00 00 08 07 00 F8 FF 00 C4
0EA0005A0:   00 04 47 00 00 02 E9 00 00 08 07 00 F8 FF 00 C4
0EA0005B0:   00 04 49 00 00 02 E9 00 00 08 07 00 F8 FF 00 C2
0EA0005C0:   00 04 46 00 00 02 E9 00 00 08 07 00 F8 FF 00 C5
0EA0005D0:   00 04 47 00 00 02 E9 00 00 08 07 00 F8 FF 00 C4
0EA0005E0:   00 04 46 00 00 02 E9 00 00 08 08 00 F8 FF 00 C4
0EA0005F0:   00 04 46 00 00 02 E9 00 00 08 08 00 F8 FF 00 C4
0EA000600:   00 04 47 00 00 02 E9 00 00 08 08 00 F8 FF 00 C3
0EA000610:   00 04 46 00 00 02 E9 00 00 08 08 00 F8 FF 00 C4
0EA000620:   00 04 47 00 00 02 E9 00 00 08 08 00 F8 FF 00 C3
0EA000630:   00 04 45 00 00 02 E9 00 00 08 08 00 F8 FF 00 C5
0EA000640:   00 04 46 00 00 02 E9 00 00 08 08 00 F8 FF 00 C4
0EA000650:   00 04 46 00 00 02 E9 00 00 08 08 00 F8 FF 00 C4
0EA000660:   00 04 47 00 00 02 E9 00 00 08 08 00 F8 FF 00 C3
0EA000670:   00 04 46 00 00 02 E9 00 00 08 08 00 F8 FF 00 C4
0EA000680:   00 04 47 00 00 02 E9 00 00 08 08 00 F8 FF 00 C3
0EA000690:   00 04 46 00 00 02 E9 00 00 08 08 00 F8 FF 00 C4
0EA0006A0:   00 04 47 00 00 02 E9 00 00 08 08 00 F8 FF 00 C3
0EA0006B0:   00 04 46 00 00 02 E9 00 00 08 08 00 F8 FF 00 C4
0EA0006C0:   00 04 46 00 00 02 E9 00 00 08 08 00 F8 FF 00 C4
0EA0006D0:   00 04 46 00 00 02 E9 00 00 08 08 00 F8 FF 00 C4
0EA0006E0:   00 04 48 00 00 02 E9 00 00 08 08 00 F8 FF 00 C2
0EA0006F0:   00 04 47 00 00 02 E9 00 00 08 08 00 F8 FF 00 C3
0EA000700:   00 04 48 00 00 02 E9 00 00 08 08 00 F8 FF 00 C2
0EA000710:   00 04 48 00 00 02 E9 00 00 08 08 00 F8 FF 00 C2
0EA000720:   00 04 41 00 00 02 E8 00 00 08 04 00 F8 FF 00 CE
0EA000730:   00 04 40 00 00 02 E8 00 00 08 04 00 F8 FF 00 CF
0EA000740:   00 04 41 00 00 02 E8 00 00 08 04 00 F8 FF 00 CE
0EA000750:   00 04 3F 00 00 02 E8 00 00 08 04 00 F8 FF 00 D0
0EA000760:   00 04 40 00 00 02 E8 00 00 08 04 00 F8 FF 00 CF
0EA000770:   00 04 41 00 00 02 E8 00 00 08 04 00 F8 FF 00 CE
0EA000780:   00 04 40 00 00 02 E8 00 00 08 04 00 F8 FF 00 CF
0EA000790:   00 04 41 00 00 02 E8 00 00 08 04 00 F8 FF 00 CE
0EA0007A0:   00 04 42 00 00 02 E8 00 00 08 04 00 F8 FF 00 CD
0EA0007B0:   00 04 41 00 00 02 E8 00 00 08 04 00 F8 FF 00 CE
0EA0007C0:   00 04 43 00 00 02 E8 00 00 08 04 00 F8 FF 00 CC
0EA0007D0:   00 04 42 00 00 02 E8 00 00 08 04 00 F8 FF 00 CD
0EA0007E0:   00 04 40 00 00 02 E8 00 00 08 04 00 F8 FF 00 CF
0EA0007F0:   00 04 43 00 00 02 E8 00 00 08 04 00 F8 FF 00 CC


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